      Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 1 of 6 PageID #:42




                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JENNA N. TAFT,

      Plaintiff,

 v.
                                                        Case No. 1:21-cv-02653
 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC d/b/a ARS
 ACCOUNT RESOLUTION SERVICES,

      Defendant.

                                   INITIAL STATUS REPORT

        Pursuant to Fed. R. Civ. P. 26(f), the Court's Case Procedures, and the Court's June 11,

2021 MINUTE entry [Dkt. #10], the parties jointly submit the following Initial Status Report:

        I.         The Nature of the Case

                   A.    Identify the attorneys of record for each party, including the lead trial
                         attorney.

 Joseph S. Davidson (LEAD ATTORNEY)                  Paul Gamboa (LEAD ATTORNEY)
 LAW OFFICES OF JOSEPH P. DOYLE LLC                  Krista Rose Easom
 105 South Roselle Road                              GORDON REES SCULLY MANSUKHANI, LLP
 Suite 203                                           1 North Franklin Street
 Schaumburg, Illinois 60193                          Suite 800
 +1 847-985-1100                                     Chicago, Illinois 60606
 jdavidson@fightbills.com                            +1 312-565-1400
                                                     keasom@grsm.com
 Counsel for Jenna N. Taft                           pgamboa@gordonrees.com

                                                     Counsel for Heathcare Revenue Recovery
                                                     Group, LLC d/b/a ARS Account Resolution
                                                     Services




                                                 1
Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 2 of 6 PageID #:43




        B.    State the basis for federal jurisdiction.

              Subject matter jurisdiction is conferred on the Court pursuant to 28 U.S.C

              § 1331 and 15 U.S.C. § 1692k.

        C.    Describe the nature of the claims asserted in the complaint and any
              counterclaims.

              On or about April 16, 2021, Plaintiff obtained her credit report. Plaintiff

              discovered tradeline(s) she did not recognize. Plaintiff disputed the alleged

              $32.00 balance, demanding verification. Defendant received Plaintiff's

              dispute letter on April 22, 2021. Plaintiff received no response. On May

              12, 2021, Plaintiff obtained another credit report. Defendant updated its

              tradeline May 1, 2021. Defendant's tradeline did not indicate the tradeline

              is disputed by Plaintiff. Plaintiff alleges Defendant violated 15 U.S.C. §

              1692e(8) of the Fair Debt Collection Practices Act by failing to

              communicate that a disputed debt is disputed. HRRG denies that it violated

              the FDCPA.

        D.    A statement of the major legal and factual issues in the case to be
              submitted by each side in 200 words or less per side.

              Plaintiff: (1) Whether Plaintiff disputed Defendant's tradeline? (2) Whether

              Defendant received Plaintiff's dispute? (3) Whether Defendant failed to

              communicate Plaintiff's dispute? (4) Whether Plaintiff suffered damages?

              Defendant: HRRG denies Plaintiff disputed the tradeline and that Plaintiff

              suffered damages. If HRRG committed any violation of the FDCPA, which

              is expressly denied, it was the result of a bona fide error under 15 U.S.C. §

              1692k(c), notwithstanding the maintenance of procedures reasonably

                                        2
Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 3 of 6 PageID #:44




              adapted to avoid such error. HRRG also denies that recovery to Plaintiff is

              appropriate as she lacks an injury in fact and does not have standing.

              Alternatively, if Plaintiff does have any injury, it was caused by her own

              conduct and/or the acts and/or omissions of Plaintiff or others.

        E.    Describe the relief sought by the plaintiff(s).

              As result of Defendant's alleged violation of 15 U.S.C. § 1692e(8), Plaintiff

              is seeking an award of any actual damages sustained by Plaintiff; such

              additional damages as the court may allow, but not exceeding $1,000.00;

              and the costs of this action ($477.00 to date), together with a reasonable

              attorney’s fee ($3,867.50 to date) as determined by the court. HRRG denies

              that Plaintiff incurred actual damage.

 II.    Pending Motions and Case Plan

        A.    Identify the day/date of the Initial Status Hearing

              Telephonic initial status conference set for August 9, 2021.

        B.    Identify all pending motions.

              None.

        C.    Submit a proposal for a discovery plan, including the following
              information:

              1.      The general type of discovery needed;

                      Discovery will be needed on all allegations, claims and affirmative

                      defenses alleged in the Complaint and the Answer and will be

                      conducted by (including, but not limited to) depositions,




                                        3
Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 4 of 6 PageID #:45




                     Interrogatories, Requests for Production of Documents and

                     Requests for Admission.

              2.     A date to issue written discovery;

                     September 8, 2021.

              3.     A date for the deadline for the amendment of pleadings (90 days
                     after Rule 26(a)(1) disclosures are exchanged.

                     November 11, 2021.

              4.     A fact discovery completion date;

                     January 6, 2022.

              5.     An expert discovery completion date, including dates for the
                     delivery of expert reports; and

                     Expert discovery is unlikely; however, the parties request the Court

                     set another status hearing at or near fact discovery completion date

                     to confirm.

              6.     A date for the filing of dispositive motions.

                     February 3, 2022.

        D.    With respect to trial, indicate the following:

              1.     Whether a jury trial is requested; and

                     Yes. Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by

                     jury of any and all issues in this action so triable of right.

              2.     The probable length of trial

                     The probable length of trial is 2-3 days.

 III.   Consent to Proceed Before a Magistrate Judge



                                         4
Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 5 of 6 PageID #:46




        A.     Indicate whether the parties consent unanimously to proceed before a
               Magistrate Judge.

               The parties DO NOT consent unanimously to proceed before a Magistrate

               Judge.

 IV.    Status of Settlement Discussions

        A.     Indicate whether any settlement discussions have occurred;

               Plaintiff made an initial demand to Defendant on June 9, 2021; Defendant

               is assessing Plaintiff’s demand.

        B.     Describe the status of any settlement discussions; and

               Ongoing.




                                         5
   Case: 1:21-cv-02653 Document #: 14 Filed: 07/28/21 Page 6 of 6 PageID #:47




           C.     Whether the parties request a settlement conference.

                  The parties DO NOT request a settlement conference at this time.

DATED: July 28, 2021                          Respectfully submitted,

                                              JENNA N. TAFT

                                              By: /s/ Joseph S. Davidson

                                              Joseph S. Davidson
                                              LAW OFFICES OF JOSEPH P. DOYLE LLC
                                              105 South Roselle Road
                                              Suite 203
                                              Schaumburg, Illinois 60193
                                              +1 847-985-1100
                                              jdavidson@fightbills.com

                                              HEALTHCARE REVENUE RECOVERY
                                              GROUP, LLC d/b/a ARS ACCOUNT
                                              RESOLUTION SERVICES

                                              By: /s/ Krista Easom

                                              Krista Rose Easom
                                              Paul Gamboa
                                              GORDON REES SCULLY MANSUKHANI, LLP
                                              1 North Franklin Street
                                              Suite 800
                                              Chicago, Illinois 60606
                                              +1 312-565-1400
                                              keasom@grsm.com
                                              pgamboa@gordonrees.com




                                          6
